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 1                                                     THE HONORABLE THOMAS S. ZILLY

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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 8

 9    BUNGIE, INC.,                                   No. 2:21-cv-811

10                           Plaintiff,               PLAINTIFF BUNGIE, INC.’S
                                                      MOTION TO DISMISS PHOENIX
11            v.                                      DIGITAL GROUP, LLC’S AND
                                                      JAMES MAY’S AMENDED
12    AIMJUNKIES.COM; PHOENIX DIGITAL                 COUNTERCLAIMS WITH
      GROUP, LLC; DAVID SCHAEFER; JORDAN              PREJUDICE
13    GREEN; JEFFREY CONWAY AND JAMES
      MAY,                                            NOTE ON MOTION CALENDAR:
14                                                    January 6, 2023
                             Defendants.
15                                                    ORAL ARGUMENT REQUESTED

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      PLAINTIFF’S MOT. TO DISMISS                                      Perkins Coie LLP
                                                                1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811)                                         Seattle, Washington 98101-3099
                                                                    Phone: +1.206.359.8000
                                                                      Fax: +1.206.359.9000
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                                                                                                     1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) – i                                                                          Seattle, Washington 98101-3099
                                                                                                         Phone: +1.206.359.8000
                                                                                                           Fax: +1.206.359.9000
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                                                                                                   1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) – ii                                                                       Seattle, Washington 98101-3099
                                                                                                       Phone: +1.206.359.8000
                                                                                                         Fax: +1.206.359.9000
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                                                                                               1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) – iii                                                                  Seattle, Washington 98101-3099
                                                                                                   Phone: +1.206.359.8000
                                                                                                     Fax: +1.206.359.9000
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                                                                                                       1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) – iv                                                                           Seattle, Washington 98101-3099
                                                                                                           Phone: +1.206.359.8000
                                                                                                             Fax: +1.206.359.9000
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 1
                                               I.      INTRODUCTION
 2
              Despite having two chances to plead their counterclaims, Phoenix Digital Group, LLC’s
 3
     (“Phoenix Digital”) and James May’s (collectively, “Counterclaimants”) amended counterclaims
 4
     are once again legally deficient. Remarkably, Counterclaimants’ re-pled counterclaims suffer
 5
     from many of the exact same deficiencies identified by the Court in its order dismissing their
 6
     original counterclaims. This failure to correct even the most obvious of deficiencies, in addition
 7
     to Defendants’ casual treatment of the federal and local rules, bad faith interpretation of the “on
 8
     information and belief” pleading standard espoused to date, and inconsistent testimony regarding
 9
     the claims at issue merits dismissal of all of their counterclaims with prejudice.
10
                                         II.        STATEMENT OF FACTS
11
     A.       Procedural History
12
              Defendants1 admit that they sold and distributed the cheat software at issue for Bungie’s
13
     Destiny 2 video game (the “Cheat Software”). Dkt. No. 72 (hereafter “Amend. Counterclaims”)
14
     ¶ 63. The Cheat Software infringes Bungie’s copyrights, gives an unfair advantage to users of
15
     the cheat, violates legitimate users’ expectations of fair play, and causes significant harm to both
16
     Bungie and the Destiny 2 player base. Dkt. No. 34 (“Amend. Compl.”) ¶ 2; Dkt. No. 36 (“May
17
     2022 Kaiser Decl.”) ¶¶ 10–23.
18
              Given Defendants’ infringing conduct, and to protect itself and its player base, Bungie
19
     filed the present action naming Defendants and alleging claims of trademark infringement and
20
     copyright infringement. Dkt. No. 1. On July 1, 2022, this Court granted Bungie’s Motion for
21
     Preliminary Injunction and held that “Bungie has made a strong showing that [Defendants’]
22
     conduct likely constitutes infringement of its exclusive right to copy or reproduce Destiny 2.”
23
     Dkt. No. 50 (Preliminary Injunction) p. 6.
24

25
              1
26             “Defendants” refers collectively to all Defendants in this action: AimJunkies.com, Phoenix Digital, David
     Schaefer, Jordan Green, Jeffrey Conway, and James May.
      PLAINTIFF’S MOT. TO DISMISS                                                         Perkins Coie LLP
                                                                                   1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) – 1                                                        Seattle, Washington 98101-3099
                                                                                       Phone: +1.206.359.8000
                                                                                         Fax: +1.206.359.9000
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 1            A year and a half later, Counterclaimants belatedly made their first attempt at asserting

 2   counterclaims against Bungie. As detailed in Bungie’s motion to dismiss those counterclaims,

 3   that late filing followed a series of actions that flout the Local and Federal Rules, including being

 4   the third late filing by Defendants in response to Bungie’s pleadings, and eliciting yet another

 5   directive from the Court that Defendants must comply with all local court rules in connection

 6   with another filing. Dkt. No. 64 p. 1–2; Dkt. No. 71 (“Order Dismissing Counterclaims”) p. 9

 7   n.2. Defendants did not request leave for the late filing nor provide any explanation for it,

 8   neither contemporaneously with the belatedly-filed Answer and Counterclaims nor in their

 9   opposition to Bungie’s first motion to dismiss.

10            Bungie moved to dismiss all of the Counterclaims asserted by May and Phoenix Digital,

11   which the Court granted, holding that Counterclaimants had failed to sufficiently plead facts

12   concerning multiple elements of every counterclaim asserted, and finding that “May’s and

13   Phoenix Digital’s reliance on [new declaration testimony submitted with the opposition]

14   demonstrate[d] a lack of candor with the Court.” Order Dismissing Counterclaims p. 4. The

15   Court agreed that Bungie “made a strong showing that the counterclaims should be dismissed

16   with prejudice,” but allowed amendment because the deadline to amend pleadings (November

17   21, 2022) had not passed. Id. p. 9.

18   B.       Bungie, the LSLA, and the Privacy Policy
19            Bungie’s Destiny 2 video game is a successful shared-world first-person action video

20   game. Originally released in September 2017, Destiny 2 is now a free-to-play game with paid

21   expansions, continually refreshed downloadable content (“DLC”), and an estimated player base

22   of over 30 million players. Dkt. No. 34 (hereafter, “Amend. Compl.”) ¶¶ 26–27. Among other

23   DLC, Bungie released its recent expansions, Destiny 2: Beyond Light, on November 10, 2020.

24   Id. ¶ 27. Bungie is the owner of all rights, title, and interest in the copyrights in Destiny 2 and

25

26

      PLAINTIFF’S MOT. TO DISMISS                                              Perkins Coie LLP
                                                                        1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –2                                              Seattle, Washington 98101-3099
                                                                            Phone: +1.206.359.8000
                                                                              Fax: +1.206.359.9000
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 1   Destiny 2: Beyond Light,2 including as computer software and as audiovisual works, which are

 2   the subject of four U.S. Copyright registrations. Id. ¶ 37, Ex. 1–4.

 3            Any player who downloads, installs, plays, copies, or uses Destiny 2 must accept the

 4   terms of Bungie’s Limited Software License Agreement (“LSLA”). Id. ¶ 47; see also Dkt. No.

 5   63-1 (copy of the LSLA attached to Defendants’ answer and counterclaims). By accepting the

 6   LSLA, players also agree to be bound by Bungie’s Privacy Policy, expressly incorporated by

 7   reference in the LSLA. Dkt. No. 72-1 (LSLA) p. 2; Dkt. No. 72-2 (Bungie’s Privacy Policy).

 8   James May is one of the players who accepted the LSLA and Privacy Policy.                                     Amend.

 9   Counterclaims ¶¶ 6–8. Under the terms of the Privacy Policy, “By using the Bungie Services,

10   you consent to the data practices described in this Privacy Statement.” Dkt. No. 72-2 p. 2. The

11   Privacy Policy then describes how information is collected by Bungie, as consented to by

12   Destiny 2 players, including that Bungie “collect[s] Personal Information about you and your use

13   of the Bungie Services via automated means, such as through cookies, web beacons and similar

14   technologies,” including information such as:

15                   x   Bungie Services Use Data, including information about your use of the Bungie

16                       Services, the pages and content that you view, the referring and existing pages,

17                       your access times, the links you click, and other actions taken within the Bungie

18                       Services.

19                   x   Device Data, including information regarding your device, such as device type,

20                       operating system type, browser type, device regional and language settings, IP

21                       address, and device ID (such as IDFA or AAID).

22            Id. p. 4. This information is collected by Bungie to, among other reasons, “prevent

23   fraudulent use of the Bungie Services,” “enforce our Terms of Use [and] our legal rights,” and

24   “prevent or address potential or actual injury or interference with our rights, property, operations,

25   users or others who may be harmed or may suffer loss or damage.” Id. p. 6. To collect data that

26            2
                  For ease of reference, Destiny 2 and Destiny 2: Beyond Light are referred to hereafter as “Destiny 2”.
      PLAINTIFF’S MOT. TO DISMISS                                                            Perkins Coie LLP
                                                                                      1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –3                                                            Seattle, Washington 98101-3099
                                                                                          Phone: +1.206.359.8000
                                                                                            Fax: +1.206.359.9000
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 1   is helpful in preventing fraudulent uses of the Bungie Services and in protecting Bungie’s

 2   intellectual property rights, the Destiny 2 process detects potentially malicious processes that can

 3   interfere with Destiny 2, such as cheat software, computes an MD5 hash3 of their corresponding

 4   files, and reports the MD5 hash to Bungie, if queried. Declaration of William C. Rava (“Rava

 5   Decl.”), Ex. 1 (Kaiser Dep. Tr.) at 124:17–125:10 (explaining that the file path for the

 6   reclass/blah.64.exe file “attached to Destiny 2 and was attempting to reverse engineer the

 7   game”).

 8                                                 III.     ARGUMENT
 9   A.       Legal Standard
10            To survive a motion to dismiss, “a complaint must contain sufficient factual matter,

11   accepted as true, to state a claim to relief that is plausible on its face.” Vernon v. Qwest

12   Commc’n Int’l, Inc., 643 F. Supp. 2d 1256, 1261 (W.D. Wash. 2009) (quoting Ashcroft v. Iqbal,

13   556 U.S. 662, 678 (2009)). Unlike factual allegations, legal conclusions are not accepted as true.

14   Id. (quoting Ashcroft, 556 U.S. at 664). A complaint that pleads facts that are “merely consistent

15   with” a defendant’s liability, “stops short of the line between possibility and plausibility of

16   entitlement to relief.” Ashcroft, 556 U.S. at 678 (internal citation and quotation omitted). The

17   “mere possibility of misconduct” does not entitle the pleader to relief.                                  Id. at 679.

18   Counterclaimants’ amended counterclaims fail to meet this standard.

19        Courts may rule on affirmative defenses—like the existence and effect of a party’s terms of

20   service—in considering Rule 12(b)(6) motions “where the defense is apparent from the face of

21   the complaint.” Beijing Zhongyi Zhongbiao Elec. Info. Tech. Co. v. Microsoft Corp., No. C13–

22   1300–MJP, 2013 WL 6979555, at *3 (W.D. Wash. Oct. 31, 2013) (cleaned up) (holding that

23   license to copyrighted works was incorporated by reference, and dismissing copyright

24            3
                 An MD5 hash is a 1228-bit number that serves as unique file checksum. MD5 hashes do not contain any
25   information regarding the content of a file. Often MD5 hashes are used to verify file integrity, indicating that two
     files are identical on a bitwise level, without having to open the file itself to compare, even if the nature or purpose
26   of the file has been obscured—for example, when a malicious program has been renamed with the title of an
     innocuous program.
      PLAINTIFF’S MOT. TO DISMISS                                                           Perkins Coie LLP
                                                                                     1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –4                                                           Seattle, Washington 98101-3099
                                                                                         Phone: +1.206.359.8000
                                                                                           Fax: +1.206.359.9000
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 1   infringement claim on motion to dismiss based on the license), aff’d, 655 F. App’x 564 (9th Cir.

 2   2016); Song fi Inc. v. Google, Inc., 108 F. Supp. 3d 876, 880 (N.D. Cal. 2015) (holding that

 3   YouTube’s Terms of Service were incorporated by reference, and dismissing claims that were

 4   “foreclose[d]” by those terms). And “where[,] as is the case here, the complaint incorporates

 5   documents[,] . . . the Court may consider them in ruling on a 12(b)(6) motion,” including

 6   deposition transcripts incorporated by reference in the complaint. Beijing Zhongyi Zhongbiao

 7   Elec., 2013 WL 6979555 at *3; Grae-El v. City of Seattle, ___ F. Supp. 3d ___, 2022 WL

 8   2952381, at *8 n.8 (W.D. Wash. July 26, 2022).

 9        Here, in their Amended Counterclaims, Counterclaimants disclosed and relied on Bungie’s

10   LSLA and Privacy Policy, as well as the personal and Rule 30(b)(6) deposition transcripts of

11   Dr. Edward Kaiser. See, e.g., Amend. Counterclaims ¶¶ 7–8, 13, 24, 70, 72, 73. Accordingly,

12   the LSLA, Privacy Policy, and Dr. Kaiser’s deposition transcripts are incorporated by reference.

13   B.       May’s Computer Fraud and Abuse Act Claims Should Be Dismissed
14            May reasserts three causes of action under the Computer Fraud and Abuse Act (“CFAA”)

15   under 18 U.S.C. § 1030(a)(2)(C); 18 U.S.C. § 1030(a)(4); and 18 U.S.C. § 1030(a)(5)(C). All

16   three should be dismissed because, as with his original CFAA counterclaims, these CFAA claims

17   rely on speculative assumptions about documents produced by Bungie in this case and because

18   May consented to the alleged “access” to his computer by agreeing to Bungie’s Privacy Policy.

19   May’s claim for unauthorized access with intent to defraud (18 U.S.C. § 1030(a)(4)) should be

20   dismissed for the independent reason that May does not allege that Bungie defrauded May, and

21   his claim for theft of computer data (18 U.S.C. § 1030(a)(5)(C)) should also be dismissed

22   because May does not allege that Bungie accessed his computer without authorization, as

23   required by the statute.

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      PLAINTIFF’S MOT. TO DISMISS                                           Perkins Coie LLP
                                                                     1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –5                                           Seattle, Washington 98101-3099
                                                                         Phone: +1.206.359.8000
                                                                           Fax: +1.206.359.9000
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 1            1.     All Three CFAA Claims Fail Because May Again Relies on Speculative
                     Assumption
 2
              On a Rule 12(b)(6) motion, the Court must accept reasonable inferences, but the Court is
 3
     not required to accept as true “allegations that are merely conclusory, unwarranted deductions of
 4
     fact, or unreasonable inferences.” nexTUNE, Inc. v. McKinney, No. C12-1974 TSZ, 2013 WL
 5
     2403243, at *4 (W.D. Wash. May 31, 2013) (Zilly, J.) (granting motion to dismiss where trade
 6
     secret claim was premised on “speculation unsupported by any factual allegation”). May’s
 7
     original CFAA counterclaims were dismissed because, among other reasons, “May . . . [did] not
 8
     explain what [the spreadsheet BUNGIE_WDWA_0000409 attached as Exhibit B to May’s
 9
     original counterclaims] [was] or how it evidence[d] 104 instances in which Bungie allegedly
10
     accessed his computer without authorization and downloaded his personal information.” Order
11
     Dismissing Counterclaims p. 6.
12
              In his amended CFAA counterclaims, May relies on the same spreadsheet (Exhibit C)
13
     and another document produced by Bungie (see Dkt. No. 72-4 (Exhibit D)), once again devoid of
14
     any context alleging that these documents evidence instances of Bungie’s unauthorized access.
15
     See Amend. Counterclaims ¶¶ 12–15.
16
              As to Exhibit D, May’s description of the document simply states that it is “another
17
     document Bungie, Inc. has produced in the course of this litigation and which was generated by
18
     or on behalf of Bungie, Inc.” Id. at ¶ 20. He then identifies a file path—not the content of any
19
     file—purportedly found on his computer that is also listed on Exhibit D, but does not explain
20
     what its inclusion in Exhibit D allegedly shows. Like he did with his initial Counterclaims, May
21
     again “does not explain what this document is or how it evidences [] instances in which Bungie
22
     allegedly accessed his computer without authorization and downloaded his personal
23
     information.” See Order Dismissing Counterclaims p. 6.
24
              May has similar problems, again, with Exhibit C. The only additional context for the
25
     spreadsheet that May attempts to provide is an allegation that Bungie’s Engineering Lead stated
26

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                                                                      1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –6                                            Seattle, Washington 98101-3099
                                                                          Phone: +1.206.359.8000
                                                                            Fax: +1.206.359.9000
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 1   during his deposition that the document is “an export from our [Bungie’s] database

 2   corresponding to the bans of all accounts that we [Bungie] know of being associated with James

 3   May.” Id. at ¶ 13. From this, May concludes that the document is “thus, an internal document

 4   created by Bungie reflecting information collected by Bungie about Mr. May.” Id. at ¶ 14. But

 5   May does not provide any allegations explaining how a document from Bungie’s internal

 6   database evidences that information was collected from May by accessing May’s computer.

 7            May’s unsupported conclusions regarding the meaning of Exhibits C and D—devoid of

 8   factual allegations with supporting context—are nothing more than speculation, and should not

 9   be accepted as true for purposes of the motion to dismiss. nexTUNE, 2013 WL 2403243, at *4.

10   May’s CFAA counterclaims should therefore be dismissed.

11            2.       May’s CFAA Claims Fail Because He Permitted Bungie’s Alleged Access
12            May’s CFAA counterclaims should also be dismissed because May admits that he agreed

13   to Bungie’s Privacy Policy, which permits the activity that May alleges form the basis of his

14   CFAA claims. In other words, May authorized Bungie’s alleged access of his computer.

15            Under 18 U.S.C. §§ 1030(a)(4) and 1030(a)(2)(C), a claimant must allege (among other

16   elements) that the other party “accesse[d] a protected computer without authorization, or

17   exceed[ed] authorized access.” And under 18 U.S.C. § 1030(a)(5)(C), a claimant must allege

18   that the party “intentionally access[ed] a protected computer without authorization.”4 Thus,

19   where a claimant authorizes a party to access his computer and view or obtain certain

20   information, the claimant cannot maintain a CFAA claim for the party’s access to that

21   information. See HotSpot Therapeutics, Inc. v. Nurix Therapeutics, Inc., No. 22-cv-4109-TSH,

22   2022 WL 16637988, at *6 (N.D. Cal. Nov. 2, 2022) (granting motion to dismiss CFAA claim

23   where counterclaim plaintiff authorized counterclaim defendant to access software via contract).

24

25            4
               As discussed in further detail below, 18 U.S.C. § 1030(a)(5)(C) does not contain the “exceeds authorized
26   access” language, and thus any allegations that a party “exceeded authorized access” of a protected computer are not
     actionable under this section. Infra Section III.B.4.
      PLAINTIFF’S MOT. TO DISMISS                                                        Perkins Coie LLP
                                                                                  1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –7                                                        Seattle, Washington 98101-3099
                                                                                      Phone: +1.206.359.8000
                                                                                        Fax: +1.206.359.9000
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 1            May admits that he accepted and was bound by both Bungie’s LSLA and Privacy Policy,

 2   and incorporates both by including them as exhibits to his counterclaims (Exhibits A (LSLA) &

 3   B (Privacy Policy)). See Amend. Counterclaims ¶¶ 6–8. And he further concedes that he

 4   provided at least some level of authorization for Bungie to collect data specified in Bungie’s

 5   Privacy Policy. Id. at ¶ 32. Therefore, the only issue is whether the Privacy Policy authorizes

 6   Bungie to access the information that May alleges Bungie accessed.

 7            It does, and May fails to allege facts sufficient to establish that Bungie’s alleged access to

 8   his computer would fall outside the scope of Bungie’s Privacy Policy. May repeatedly alleges

 9   that the information supposedly accessed by Bungie is information about May’s personal

10   computer (i.e., his device), such as file paths (i.e., where files are located, not the content of the

11   files) that exist on the computer he used in connection with Destiny 2. Amend. Counterclaims

12   ¶¶ 16, 18, 19, 21, 26. That’s exactly the type of information covered by the Privacy Policy.

13            The Privacy Policy describes the “categories of information” that users consent to the

14   collection of, and then lists examples of the information that fits within those categories. Dkt.

15   No. 72-2 p. 4. These categories include “information about your use of the Bungie Services” and

16   “actions taken within the Bungie Services,” as well as information about “your device.” Id.

17   Exemplary device data that Bungie’s Privacy Policy discloses that Bungie collects includes

18   information “such as device type, operating system type, browser type…IP address, and device

19   ID,” among other types of data. Id. (emphasis added).

20            The Privacy Policy also explains why this information is collected by Bungie. It is

21   collected to, among other reasons, “prevent fraudulent use of the Bungie Services,” “enforce our

22   Terms of Use [and] our legal rights,” and “prevent or address potential or actual injury or

23   interference with our rights, property, operations, users or others who may be harmed or may

24   suffer loss or damage.” Id. at p. 6. In other words, Bungie is authorized to collect the type of

25   data from the computers of users of Bungie’s services necessary to prevent fraudulent or

26   malicious activity, such as, the file paths of files used to reverse engineer Destiny 2. May thus

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                                                                          1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –8                                                Seattle, Washington 98101-3099
                                                                              Phone: +1.206.359.8000
                                                                                Fax: +1.206.359.9000
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 1   expressly authorized this collection.         Kaiser Dep. Tr. at 124:17–125:10 (May’s

 2   reclass/blah.64.exe file “attached to Destiny 2 and was attempting to reverse engineer the

 3   game”).

 4            May’s counterclaims do not include any factual allegations demonstrating that the data

 5   purportedly collected by Bungie falls outside of these categories of data he agreed to allow

 6   Bungie to collect, and May’s CFAA claims (Counterclaims 1-3) should thus be dismissed. See

 7   Amend. Counterclaims ¶¶ 1–53.

 8            3.     May’s 18 U.S.C. § 1030(a)(4) Claim Should Be Dismissed Because May Fails
                     to Allege Bungie Was Engaged in Fraud
 9
              In order to survive a motion to dismiss a CFAA claim based on intent to defraud, the
10
     claimant must allege (among other elements) that the other party accessed a protected computer
11
     “knowingly and with intent to defraud.” 18 U.S.C. § 1030(a)(4). To plead fraud in this context,
12
     May must allege “knowing and specific conduct,” including pleading with particularity the
13
     “who, what, when, where, and how of the misconduct charged.” Nowak v. Xapo, Inc., No. 5:20-
14
     cv-3643-BLF, 2020 WL 6822888, at *3 (N.D. Cal. Nov. 20, 2020) (quoting United States v.
15
     Nosal, 844 F.3d 1024, 1032–33 (9th Cir. 2016)); see also United Federation of Churches, LLC v.
16
     Johnson, ___ F. Supp. 3d ___, 2022 WL 1128919, at *6 n.8 (W.D. Wash. Apr. 15, 2022). Here,
17
     May alleges that Bungie committed fraud because Bungie’s LSLA and Privacy Policy
18
     purportedly represented that Bungie would collect “only the information expressly stated” in the
19
     Privacy Policy. Amend. Counterclaims ¶ 30 (emphasis added). But a reading of the plain
20
     language of the Privacy Policy expressly contradicts May’s allegation of fraud. See Grae-El,
21
     2022 WL 2952381, at *8 n.8 (holding that the court may consider documents attached to the
22
     complaint and need not accept the truth of conclusory allegations that contradict the document).
23
              In particular, the Privacy Policy provides the “categories of information” that Bungie
24
     collects and then lists exemplary types of data that are within those categories. See Dkt. No. 72-
25
     2 p. 4 (“The categories of information we automatically collect and have automatically
26

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                                                                      1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –9                                            Seattle, Washington 98101-3099
                                                                          Phone: +1.206.359.8000
                                                                            Fax: +1.206.359.9000
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 1   collected…include…”); id. (“Bungie Services Use Data, including information about your use

 2   of the Bungie Services….and other actions taken within the Bungie Services.”); id. (“Device

 3   Data, including information regarding your device, such as device type, operating system type,

 4   browser type, device regional and language settings, IP addresses, and device ID (such as IDFA

 5   or AAID).”). Therefore, the enumerated data in the Privacy Policy is expressly exemplary, and

 6   the Privacy Policy did not state that it would “only” collect that enumerated information. May

 7   has not alleged that Bungie accessed his computer “with intent to defraud,” and this claim should

 8   be dismissed.

 9            4.     May’s 18 U.S.C. § 1030(a)(5)(C) Claim Should Be Dismissed Because May
                     Alleges Only that Bungie “Exceeds Authorized Access”
10
              A party is liable under 18 U.S.C. § 1030(a)(5)(C) only if the party “intentionally accesses
11
     a protected computer without authorization, and as a result of such conduct, causes damage or
12
     loss.” Unlike May’s other CFAA counterclaims, § 1030(a)(5)(C) does not make it unlawful to
13
     “exceed[] authorized access.”       Compare 18 U.S.C. §§ 1030(a)(2)(C), 1030(a)(4) with id.
14
     § 1030(a)(5)(C) (making it unlawful for anyone to “intentionally access[] a protected computer
15
     without authorization”). But, even in connection with this claim, May alleges only that Bungie
16
     “intentionally exceed[ed] the terms of the express authority provided by Bungie to Mr. May.”
17
     Amend. Counterclaims ¶ 49. May does not allege that Bungie accessed his computer without
18
     authorization. In fact, May concedes that May authorized Bungie to access his computer. Id. at
19
     ¶ 31 (stating that May “provided limited authorization” for Bungie to access his computer).
20
     Bungie therefore did not access May’s computer “without authorization,” and May’s CFAA
21
     counterclaim under § 1030(a)(5)(C) should be dismissed.
22
     C.       May’s and Phoenix Digital’s Amended DMCA Anti-Circumvention Claims Should
23            Be Dismissed
24            May and Phoenix Digital once again each assert counterclaims against Bungie under the

25   Digital Millennium Copyright Act’s (“DMCA”) anti-circumvention provision, 17 U.S.C.

26   § 1201(a)(1)(A). To survive a motion to dismiss, Counterclaimants must allege facts sufficient

      PLAINTIFF’S MOT. TO DISMISS                                              Perkins Coie LLP
                                                                        1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –10                                             Seattle, Washington 98101-3099
                                                                            Phone: +1.206.359.8000
                                                                              Fax: +1.206.359.9000
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 1   to show that (1) Counterclaimants employ technological measures that effectively control access

 2   (2) to Counterclaimants’ works that are protected by copyright and that (3) Bungie circumvented

 3   those technological measures. See id. (“No person shall circumvent a technological measure that

 4   effectively controls access to a work protected under this title.”). Despite their amendments,

 5   these claims remain legally deficient, including in ways previously identified by the Court when

 6   their original counterclaims were dismissed.

 7            1.     Phoenix Digital Does Not Allege It Employs Technological Protection
                     Measures
 8
              First, as with its initial attempt at an anti-circumvention claim, Phoenix Digital fails to
 9
     allege that it employs technological measures that effectively control access to the program it
10
     alleges that Bungie accessed. A complaint alleging a claim for violation of § 1201(a)(1)(A) is
11
     deficient if it “fails to allege that the copyrighted works are protected by technological
12
     measures.” FMHUB, LLC v. MuniPlatform, LLC, No. 19-15595 (FLW), 2021 WL 1422873, at
13
     *6 (D.N.J. Apr. 15, 2021) (granting motion to dismiss); cf. Philips N. Am., LLC v. Summit
14
     Imaging Inc., No. C19-1745JLR, 2020 WL 1515624, at *2–3 (W.D. Wash. Mar. 30, 2020)
15
     (denying motion to dismiss where plaintiff specifically enumerated the different protection
16
     measures implemented). Phoenix Digital’s allegations concerning its technological protection
17
     measures are virtually identical to those that the Court held were insufficient when the Court
18
     dismissed Phoenix Digital’s original claim. Compare Dkt. No. 63 at ¶ 44 (“On information and
19
     belief, Bungie bypassed, removed, deactivated, and/or impaired one or more of the technological
20
     measures that Phoenix Digital employed to control access to its proprietary program it uses to
21
     distribute the ‘cheat software’ at issue here.”) and id. at ¶ 45 (“Bungie defeated and
22
     compromised technological measures implemented by Phoenix Digital to preclude access to its
23
     loader software.”) with Amend. Counterclaims ¶ 77 (“Bungie bypassed, removed, deactivated,
24
     and/or impaired one or more of the technological measures Phoenix Digital employed to control
25
     access to its proprietary programs it uses to distribute the ‘cheat software’ at issue here.”) and id.
26

      PLAINTIFF’S MOT. TO DISMISS                                               Perkins Coie LLP
                                                                         1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –11                                              Seattle, Washington 98101-3099
                                                                             Phone: +1.206.359.8000
                                                                               Fax: +1.206.359.9000
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 1   at ¶ 78 (“In doing so, Bungie defeated and compromised technological measures implemented to

 2   preclude such access to Phoenix Digital’s loader software.”).

 3            As with its original attempt at a DMCA claim, Phoenix Digital “merely recites this

 4   element of the cause of action [and] Phoenix Digital’s allegations are insufficient.” Order

 5   Dismissing Counterclaims p. 7. Phoenix Digital’s amended DMCA claim should again be

 6   dismissed for that reason.

 7            2.     Phoenix Digital and May Fail to Allege They Own Works Protected by
                     Copyright that Bungie Accessed
 8
              Counterclaimants also failed to cure another deficiency with their DMCA claims
 9
     expressly identified by the Court when they failed to properly allege that Bungie accessed any
10
     works “protected by [copyright].” 17 U.S.C. § 1201(a)(1)(A); see also Order Dismissing
11
     Counterclaims p. 6–7; Lexmark Int’l, Inc. v. Static Control Components, Inc., 387 F.3d 522, 550
12
     (6th Cir. 2004) (The DMCA requires any “claimant to show that the ‘technological measure’ at
13
     issue ‘controls access to a work protected under this title,’ . . . which is to say a work protected
14
     under the general copyright statute. To the extent the [plaintiff’s software] is not a ‘work
15
     protected under [the copyright statute,]’ . . . the DMCA necessarily would not protect it.”)
16
     (emphasis in original). Both May and Phoenix Digital recite the bare legal conclusion that
17
     “[Counterclaimant] owns and holds copyrights in [their files and programs] pursuant to 17
18
     U.S.C. § 201.” See Amend. Counterclaims ¶¶ 16, 18, 19, 21, 23, 26, 28. But the Court need not
19
     accept these naked conclusions. Order Dismissing Counterclaims p. 3 (“[the pleading] must
20
     offer ‘more than labels and conclusions’ and contain more than a ‘formulaic recitation of the
21
     elements of a cause of action’”) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555
22
     (2007)).
23
              Unlike Bungie, Counterclaimants do not claim to have registered any of the supposedly
24
     copyrighted works that they now claim to own, meaning that Counterclaimants do not enjoy the
25
     presumption of validity and ownership that attaches to copyright registration. United Fabrics
26

      PLAINTIFF’S MOT. TO DISMISS                                             Perkins Coie LLP
                                                                       1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –12                                            Seattle, Washington 98101-3099
                                                                           Phone: +1.206.359.8000
                                                                             Fax: +1.206.359.9000
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 1   Int’l, Inc. v. C&J Wear, Inc., 630 F.3d 1255, 1257 (9th Cir. 2011) (“A copyright registration is

 2   ‘prima facie evidence of the validity of the copyright and the facts stated in the certificate.’”)

 3   (quoting 17 U.S.C. § 410(c)).

 4            “In the DMCA context, where a party has not registered its work, the absence of

 5   registration ‘makes it difficult for [a counterclaimant] to succeed on [its] DMCA claim, which is

 6   dependent on proof of a valid copyright.” Point 4 Data Corp. v. Tri-State Surgical Supply &

 7   Equip., Ltd., No. 11-CV-726 (CBA), 2013 WL 4409434, at *17 (E.D.N.Y. Aug. 2, 2013)

 8   (quoting Jagex Ltd. v. Impulse Software, 750 F. Supp. 2d 228, 237 (D. Mass. 2010)). In Point 4

 9   Data Corp., “because plaintiffs [did] not have a registered copyright in the [software allegedly

10   accessed by the defendant], the Court [needed to] examine whether plaintiffs [had] adduced

11   sufficient evidence to establish a genuine issue of fact with respect to copyrightability of their

12   [software in the summary judgment context].” Id.; see also Chamberlain Grp., Inc. v. Skylink

13   Techs., Inc., 292 F. Supp. 2d 1023, 1038 (N.D. Ill. 2003) (denying plaintiff summary judgment

14   on DMCA claim where there was a dispute of material fact whether unregistered computer

15   software was protected by copyright). So too here. On a motion to dismiss Counterclaimants’

16   DMCA counterclaims, the Amended Counterclaims must contain sufficient factual allegations to

17   demonstrate the copyrightability of their alleged programs and data. See Point 4 Data Corp.,

18   2013 WL 4409434, at *17; Chamberlain Grp., 292 F. Supp. 2d at 1038. A work is copyrightable

19   if it was “independently created by the author” and “possesses at least some minimal degree of

20   creativity.” Feist Publications, Inc. v. Rural Tele. Serv. Co., Inc., 499 U.S. 340, 345 (1991).

21   While computer programs are copyrightable, “not every element, whether literal or nonliteral, is

22   automatically entitled to protection,” and so the scope of copyrightable computer programs is

23   limited by “the exclusion of functional elements, the merger doctrine, and the scenes a faire

24   doctrine.” Point 4 Data Corp., 2013 WL 4409434, at *18. “Thus, for computer software to

25   merit copyright protection, it is not enough for the party claiming protection to show that it

26   independently created a certain number of lines of code.” Id.

      PLAINTIFF’S MOT. TO DISMISS                                            Perkins Coie LLP
                                                                      1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –13                                           Seattle, Washington 98101-3099
                                                                          Phone: +1.206.359.8000
                                                                            Fax: +1.206.359.9000
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 1            Counterclaimants fail to allege even the most basic of elements of copyrightability for the

 2   software Bungie allegedly accessed. May alleges only that “[b]y virtue of being the author of the

 3   data and files generated and stored on his personal computer, Mr. May owns and holds

 4   copyrights in such data and files pursuant to 17 U.S.C. § 201.” Amend. Counterclaims ¶ 3.

 5   While May identifies some of these files by their alleged file path, he concludes simply that he

 6   “owns and holds copyrights” in those files “pursuant to 17 U.S.C. § 201.” Id. at ¶¶ 16, 18, 19,

 7   21, 26, 28. May fails to allege that these files possess the requisite level of creativity to suggest

 8   even the possibility of copyrightability, let alone any facts to demonstrate that the elements he

 9   claims are protected are not functional or otherwise unprotectable under the merger or scenes a

10   faire doctrines. Phoenix Digital alleges even less. See Amend. Counterclaims ¶¶ 4, 23. It does

11   not even allege that whatever programs and files it supposedly claims are protected by copyright5

12   were independently created by any author, let alone Phoenix Digital. See id. And, like May,

13   Phoenix Digital fails to allege that these files are sufficiently creative to merit protection or that

14   they otherwise contain protectable elements. Id. Counterclaimants’ DMCA claims should

15   therefore be dismissed for this reason too.

16            3.       Phoenix Digital and May Fail to Allege that Bungie Circumvented Protection
                       Measures
17
              As with their original DMCA counterclaims, Counterclaimants do not allege that Bungie
18
     circumvented any technological measure implemented by Counterclaimants. Counterclaimants
19
     do not allege that Bungie “descramble[d] a scrambled work, []decrypt[ed] an encrypted work, or
20
     otherwise avoid[ed], bypass[ed], remove[d], deactivate[d], or impair[ed] a technological
21
     measure.” See 17 U.S.C. § 1201(a)(3)(A) (defining “circumvent a technological measure” in the
22
     DMCA). Instead, Counterclaimants’ circumvention theory apparently rests on the allegation that
23
     Bungie used “deceit and subterfuge” to access files on May’s computer, including files allegedly
24
     owned by Phoenix Digital, by “falsely representing that Bungie would collect only the
25
              5
26             This is likely because, as explained below, contrary to Defendant David Schaefer’s sworn testimony in his
     declaration, Phoenix Digital does not, in fact, own the copyright to the loader software it uses.
      PLAINTIFF’S MOT. TO DISMISS                                                       Perkins Coie LLP
                                                                                 1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –14                                                      Seattle, Washington 98101-3099
                                                                                     Phone: +1.206.359.8000
                                                                                       Fax: +1.206.359.9000
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 1   information specified by the Bungie Privacy Policy.” See Amend. Counterclaims ¶ 56. Phoenix

 2   Digital’s allegations are even more sparse, claiming only that Bungie “gained access to ‘loader’

 3   software” without explanation of how.              Id. at ¶ 78.      These allegations do not constitute

 4   “circumvention.”

 5            It is well-established that “using deception to gain access to copyrighted material is not

 6   the type of ‘circumvention’ that Congress intended to combat in passing the DMCA.” Dish

 7   Network L.L.C. v. World Cable Inc., 893 F. Supp. 2d 452, 464 (E.D.N.Y. 2012) (denying

 8   plaintiff leave to file second amended complaint with DMCA claim in which plaintiff alleged

 9   defendant obtained access to decrypted signals through “fraud and deceit”); Adobe Sys. Inc. v. A

10   & S Elecs., Inc., No. C 15-2288 SBA, 2015 WL 13022288, at *8 (N.D. Cal. Aug. 19, 2015)

11   (granting motion to dismiss DMCA claim where only alleged act of circumvention was

12   unauthorized distribution of otherwise genuine software license keys); TLS Grp., S.A. v.

13   NuCloud Glob., Inc., No. 2:15-CV-00533-TC, 2016 WL 1562910, at *9 (D. Utah Apr. 18, 2016)

14   (holding that circumvention “through fraud and deceit…is not a violation of § 1201(a)(1)”);

15   Joint Stock Co. Channel One Russian Worldwide v. Infomir LLC, No. 16-CV-1318 (GBD)

16   (BCM), 2017 WL 696126, at *18 (S.D.N.Y. Feb. 15, 2017) (“Similarly, there is no liability

17   under § 1201(a)(1)(A) where the defendant misuses a password, or otherwise uses ‘deceptive’

18   methods (as opposed to its own technology) to circumvention the technology that the copyright

19   owner relies on for protection.”).6 The DMCA is aimed at the conduct of those who “decod[e]

20   the encrypted codes protecting copyrighted works,” and those who breach the “digital walls”

21   erected by copyright owners. Dish Network, 893 F. Supp. 2d at 454 (quoting H.R. Rep. No. 105-

22   551, pt. 1, at 19 (1998)). “[A] cause of action under the DMCA does not accrue upon

23   unauthorized and injurious action alone; rather, the DMCA ‘targets the circumvention of digital

24
              6
25              See also Navistar, Inc. v. New Balt. Garage, Inc., No. 11-cv-6269, 2012 WL 4338816, at *4 (N.D. Ill.
     Sept. 20, 2012); Healthcare Advocates, Inc. v. Harding, Earley, Follmer & Frailey, 497 F. Supp. 2d 627, 645 (E.D.
26   Pa. 2007); Egilman v. Keller & Heckman, LLP, 401 F. Supp. 2d 105, 113 (D.D.C. 2005); I.M.S. Inquiry Mgmt. Sys.,
     Ltd. v. Berkshire Info. Sys., Inc., 307 F. Supp. 2d 521, 532 (S.D.N.Y. 2004).
      PLAINTIFF’S MOT. TO DISMISS                                                      Perkins Coie LLP
                                                                                1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –15                                                     Seattle, Washington 98101-3099
                                                                                    Phone: +1.206.359.8000
                                                                                      Fax: +1.206.359.9000
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 1   walls guarding copyrighted material.’” I.M.S. Inquiry Mgmt. Sys., 307 F. Supp. 2d at 532

 2   (quoting Universal Studios, Inc. v. Corley, 273 F.3d 429, 443 (2d Cir. 2001)).

 3            The only alleged act of circumvention in is May’s counterclaims for “deceit and

 4   subterfuge” based on Bungie’s allegedly misleading Privacy Policy. Amend. Counterclaims

 5   ¶ 56. That supposed “circumvention” is not actionable under the DMCA. Phoenix Digital, for

 6   its counterclaim, does not even attempt to remedy the pleading error from its first DMCA

 7   counterclaim, instead repeating the exact same allegation that the Court held insufficient because

 8   it was merely a “recitation of the statutory language.” Order Dismissing Counterclaims p. 7 n.1;

 9   compare Dkt. No. 63 ¶ 44 with Amend. Counterclaims ¶ 77. Counterclaimants’ DMCA claims

10   should therefore be dismissed for failure to allege facts sufficient to show circumvention.

11   D.       Phoenix Digital’s Breach of Contract Claim Should Be Dismissed
12            To plead a breach of contract claim, Phoenix Digital must plead, among other things, that

13   Bungie breached a contract. Bailey-Medwell v. Hartford Life & Accident Ins. Co., No. C17-

14   1697-MJP, 2018 WL 5264335, at *3 (W.D. Wash. Oct. 23, 2018). Phoenix Digital fails to meet

15   this simple requirement. Phoenix Digital alleges that by agreeing to its Terms of Service,

16   purchasers agree not to “modify, hack, decompile, disassemble, reverse engineer, derive source

17   code, or create derivative works of our software in part or in whole,” and not to “transmit our

18   software or display the software’s object code on any computer screen or to make any hard copy

19   memory dumps of the software’s object code.” Amend. Counterclaims ¶ 68. This is the only

20   provision Phoenix Digital alleges is at issue.

21            Phoenix Digital does not allege that Bungie engaged in any of the prohibited conduct.

22   Phoenix Digital alleges that Bungie’s corporate representative testified during his deposition that

23   Bungie “tested” the cheat software that is the subject of this lawsuit. Id. at ¶ 72. Nothing more.

24   But “testing” is not one of the enumerated acts prohibited by Phoenix Digital’s Terms of Service.

25   Nor does Phoenix Digital allege any facts that would suggest “testing” involves any of the

26   prohibited acts in the Terms of Service. Instead, Phoenix Digital jumps to the unsupported

      PLAINTIFF’S MOT. TO DISMISS                                             Perkins Coie LLP
                                                                       1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –16                                            Seattle, Washington 98101-3099
                                                                           Phone: +1.206.359.8000
                                                                             Fax: +1.206.359.9000
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 1   conclusion “testing” software means that Bungie decompiled, reverse engineered and “otherwise

 2   inspected the internal workings of” the cheat software (the latter of which is also not mentioned

 3   in the Terms of Service). Id. at ¶ 73. That’s insufficient to plead a breach of contract.

 4            Moreover, Bungie’s corporate representative testified that Bungie did not perform any of

 5   these prohibited activities in connection with the cheat software. Rava Decl., Ex. 2 (Dr. Kaiser

 6   30(b)(6) Dep. Tr.), 117:11–118:7.7            Where the facts contained in a deposition transcript

 7   incorporated by reference in a complaint “contradict [Counterclaimants’] conclusory assertions,”

 8   the Court on a motion to dismiss need not accept Counterclaimants’ conclusory assertions as

 9   true. Grae-El, 2022 WL 2952381, at *8 n.8 (citing Steckman v. Hart Brewing, Inc., 143 F.3d

10   1293, 1295–96 (9th Cir. 1998) (courts “are not required to accept as true conclusory allegations

11   which are contradicted by documents referred to in the complaint”)). Accordingly, the Court

12   should disregard Phoenix Digital’s unsupported conclusion that “testing” means “decompiling,

13   reverse engineering” or any of the activities identified in its Terms of Service, and dismiss

14   Phoenix Digital’s breach of contract counterclaim.

15   E.       The Counterclaims Should Be Dismissed with Prejudice
16            “Five factors are frequently used to assess the propriety of a motion for leave to amend:

17   (1) bad faith, (2) undue delay, (3) prejudice to the opposing party, (4) futility of amendment; and

18   (5) whether plaintiff has previously amended his complaint.” Allen v. City of Beverly Hills, 911

19   F.2d 367, 373 (9th Cir. 1990). This Court previously held that Bungie “made a strong showing

20   that the counterclaims should be dismissed with prejudice.” Order Dismissing Counterclaims p.

21   9. The reasons to dismiss with prejudice have only grown.

22            First, as with their original counterclaims, Counterclaimants bring their amended

23   counterclaims in bad faith knowing their allegations are unsupported, false, and with the

24   calculated intent to damage Bungie’s reputation. As explained in Bungie’s prior Motion to

25            7
                 Counterclaimants repeatedly reference and even quote both the personal and 30(b)(6) deposition
26   transcripts for Bungie’s Engineering Lead (Amend. Counterclaims ¶¶ 13, 24, 70, 72, 73), and so those transcripts
     may be relied upon in evaluating this motion to dismiss. Grae-El, 2022 WL 2952381, at *8 n.8.
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                                                                               1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –17                                                    Seattle, Washington 98101-3099
                                                                                   Phone: +1.206.359.8000
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 1   Dismiss, Counterclaimants’ true intentions in filing their counterclaims were exposed by David

 2   Schaefer’s recent emails to various third parties. As Schaefer explained to a third party, he

 3   construes the phrase “on information and belief” as “code for ‘its [sic] not true but were [sic]

 4   going to throw this out there and see if it sticks with the judge[.]’” Dkt. No. 65-3.8 He further

 5   notes that he believes the phrase is used by Bungie to “get away with [saying] what they say in a

 6   filing that they cant [sic] say in public because its slanderous.” Id.                      With this malicious

 7   definition of what “on information and belief” means and why it is used, Schaefer explains he is

 8   “embracing ‘on information and belief’” in his counterclaims. Id. Counterclaimants have

 9   apparently taken this erroneous definition to heart and acted in accordance, alleging claims with

10   no basis to “get away with” allegations that they know are “not true” to “see if it sticks.” To

11   state the obvious, Schaefer is mistaken; alleging facts “on information and belief” does not

12   justify or excuse making knowingly false allegations or “get[ting] away” with libel (or slander).

13            Additionally, Counterclaimants continue to present patently false allegations and sworn

14   testimony in support of their counterclaims. For instance, in opposition to Bungie’s First Motion

15   to Dismiss, Schaefer submitted a declaration stating that “Phoenix Digital claims, owns and

16   enjoys copyright protection for its ‘cheat loader’ software.” Dkt. No. 67-2 (Schaefer Decl.) ¶ 3.

17   Not so. Soon after submitting this declaration to the Court,

18

19

20                                                                      Simply put, Phoenix Digital does not and

21   cannot own the copyright to the cheat loader.9                    Similarly, May alleges in his amended

22
              8
                  Bungie discovered Schaefer’s correspondence through a YouTube video posted by Mr. Hoeg:
23   (https://www.youtube.com/watch?v=2aQeBeXuj5s). Defendants did not produce this communication and
     Defendants’ counsel recently confirmed that Schaefer deleted his emails to third parties such as Mr. Hoeg. Dkt. No.
24   65-2 (email to P. Mann regarding September 30, 2022 meet and confer). Bungie intends to pursue remedies,
     including seeking spoliation sanctions, at the appropriate time.
25             9
                 Tellingly, in its amended counterclaims, Phoenix Digital carefully drafts around this issue asserting only
26   that the loader software is a “copyrighted work[] of others.” Amend. Counterclaims ¶ 4. That does not, however,
     rectify the falsehood in Schaefer’s sworn declaration.
      PLAINTIFF’S MOT. TO DISMISS                                                         Perkins Coie LLP
                                                                                   1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –18                                                        Seattle, Washington 98101-3099
                                                                                       Phone: +1.206.359.8000
                                                                                         Fax: +1.206.359.9000
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 1   counterclaims that he “owns and holds copyrights” to the “blah54.exe” file.                            Amend.

 2   Counterclaims ¶ 16.

 3

 4
                                           10
 5                                              Such inconsistencies or falsehoods underscore the need to

 6   dismiss these counterclaims with prejudice. Shipley v. Trans Union Corp., No. C04-2560P, 2006

 7   WL 1515594, at *3 (W.D. Wash. May 25, 2006) (finding claims were brought in bad faith where

 8   they were based on dishonest acts and for the purpose of harassment).

 9            Second and third, Defendants’ unexplained delay in filing their response to Bungie’s

10   pleading in violation of the Federal Rules and the prejudice it has caused is reason to dismiss

11   their claims with prejudice. Dkt. Nos. 18, 38; 40, 55 p. 1 n.1, 61 n. 5, 63. The parties have

12   already exchanged the majority of their documents, both parties are at or near the limit on their

13   interrogatory requests, depositions have been taken, the deadline for disclosing expert testimony

14   has passed, and discovery soon closes (Feb. 21, 2022). In fact, when asked for an extension of

15   the case deadlines in light of Counterclaimants’ belated counterclaims which, if allowed, would

16   require extensive additional discovery, Counterclaimants refused to agree to extend any case

17   deadlines. Rava Decl., Ex. 5 (November 9, 2022 email from P. Mann) (“We cannot agree to

18   extend the expert disclosure deadline at this time, nor can we agree to any extension of

19   discovery.”). Moreover, the deadline to amend pleadings is now well passed, and there is no

20   reason Defendants should be allowed to amend now.

21            Fourth and fifth, a third opportunity for Counterclaimants to plead their claims would be

22   futile. Counterclaimants have had two bites at the apple. Despite the Court’s order detailing

23   Counterclaimants’ various pleading deficiencies with the claims they now reassert, they have

24   failed to correct many of these fundamental deficiencies. The reason Counterclaimants have not

25
              10
26             The document referred to in this portion of the deposition was the same document provided as Exhibit C
     to the Amended Counterclaims.
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                                                                                   Phone: +1.206.359.8000
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 1   corrected these fundamental errors the second time around is obvious—they cannot correct them.

 2   Despite having 20 months and two attempts to craft their counterclaims, as well as months of

 3   discovery to try to find factual support for their claims, Counterclaimants are still unable to

 4   sufficiently plead key elements of their claims or provide sufficient factual allegations. There is

 5   no reason to give them yet another opportunity to respond to Bungie’s pleadings.

 6                                        IV.    CONCLUSION
 7            For the foregoing reasons, Bungie respectfully requests that Phoenix Digital’s and James

 8   May’s counterclaims be dismissed with prejudice.

 9

10

11   Dated: December 8, 2022                      By: /s/William C. Rava
                                                      William C. Rava, Bar No. 29948
12                                                    Christian W. Marcelo, Bar No. 51193
                                                      Jacob P. Dini, Bar No. 54115
13                                                    Perkins Coie LLP
                                                      1201 Third Avenue, Suite 4900
14                                                    Seattle, Washington 98101-3099
                                                      Telephone: +1.206.359.8000
15                                                    Facsimile: +1.206.359.9000
                                                      WRava@perkinscoie.com
16                                                    CMarcelo@perkinscoie.com
                                                      JDini@perkinscoie.com
17
                                                  Attorneys for Plaintiff Bungie, Inc.
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                                                                       1201 Third Avenue, Suite 4900
      (No. 2:21-cv-811) –20                                            Seattle, Washington 98101-3099
                                                                           Phone: +1.206.359.8000
                                                                             Fax: +1.206.359.9000
     159296657.4
